

People v Boykin (2023 NY Slip Op 04133)





People v Boykin


2023 NY Slip Op 04133


Decided on August 2, 2023


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 2, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

ANGELA G. IANNACCI, J.P.
LARA J. GENOVESI
WILLIAM G. FORD
LILLIAN WAN, JJ.


2022-05131
 (Ind. No. 354/16)

[*1]The People of the State of New York, respondent,
vWilbert Boykin, appellant.


Alex Smith, Middletown, NY, for appellant.
David M. Hoovler, District Attorney, Goshen, NY (Robert H. Middlemiss of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from a judgment of the County Court, Orange County (Craig Stephen Brown, J.), rendered June 7, 2022, convicting him of conspiracy in the second degree, upon his plea of guilty, and imposing sentence.
ORDERED that the judgment is affirmed.
The record does not establish that the defendant's waiver of the right to appeal was knowing, voluntary, and intelligent, as the County Court mischaracterized the nature of the right to appeal by stating that the defendant's conviction and sentence would be final (see People v Shanks, 37 NY3d 244, 252; People v Bisono, 36 NY3d 1013, 1017-1018; People v Bradshaw, 18 NY3d 257, 264). In addition, the written waiver form did not clarify that appellate review remained available for select issues (see People v Thomas, 34 NY3d 545, 566; People v Brown, 195 AD3d 943). Thus, the purported waiver does not preclude this Court's review of the defendant's excessive sentence claim.
Nevertheless, the sentence imposed was not excessive (see People v Suitte, 90 AD2d 80).
IANNACCI, J.P., GENOVESI, FORD and WAN, JJ., concur.
ENTER:
Maria T. Fasulo
Clerk of the Court








